CURRICULUM VITAE
RONALD H. BRAVER
PARTNER




QUALIFICATIONS
MS, Taxation, DePaul University, USA
BS, Accounting, Truman State University (formerly Northeast Missouri State University), USA
Certified Public Accountant (CPA) – Illinois
Licensed Private Detective – Illinois
Certified Fraud Examiner (CFE)


MEMBERSHIPS
Member, American Institute of Certified Public Accountants (AICPA)
Member, Association of Certified Fraud Examiners (ACFE)
Member, Federal Criminal Investigators Association (FCIA)
Member, Association of Former Special Agents of the Internal Revenue Service (AFSA-IRS)


PERSONAL DEVELOPMENT
Supervisory Special Agent Training, 2007
Special Agent Training, 1985
Federal Employee of the Year nominee, 2006
Albert Gallatin Award, 2010
Recipient of 25 awards and commendation letters as a federal law enforcement officer, including numerous
exceptional performance awards and two exceptional salary increases.


PROFILE
Ronald H. Braver is a Partner in the Forensic Accounting and Commercial Damages group at HKA with more
than 38 years of combined private-sector consulting and federal law enforcement experience. Ron is a former
Special Agent and Supervisory Special Agent of the Internal Revenue Service (IRS) Criminal Investigation,
his government investigations led to approximately 75 guilty pleas/convictions and more than $41M in
forfeiture and fines. Ron is a CPA, CFE and licensed Private Detective.

Ron has diverse fraud, money laundering, asset forfeiture, asset tracing, investigative, and expert testimony
experience. Ron’s high-profile investigations include business disputes, trust issues, criminal tax, diversion,


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inflated billing, pension, healthcare, public corruption, bribery, bank, wire, bankruptcy, securities, foreign
exchange, and investor fraud schemes including Ponzi type schemes. Ron has investigated sophisticated
organized crime organizations and international and local drug conspiracies.

Ron's asset forfeiture/asset tracing experience is useful in defending against forfeiture actions or tracing the
ill-gotten gains from fraud. He has conducted several international investigations, working with Mutual Legal
Assistance Treaties (MLATs) and provisional arrest warrants, and participated in overseas depositions. Ron
has been the affiant on numerous search, and seizure warrants.

In addition, Ron has acted as a Court appointed Receiver in business disputes, and Financial Advisor to
both creditors committee and debtor in bankruptcy proceedings.


EXPERIENCE

BUSINESS DISPUTE RESOLUTION
Forex Service Company
Ron was engaged by the attorneys for the non-controlling shareholders in an Australian-licensed forex
service company because the company’s management was not providing them with periodic financial
information. He documented self-dealing, diversions, and funds not meeting Australian Service Investment
Commission (ASIC) client money reporting rules or Net Tangible Asset (NTA) requirements. Ron determined
that the management continued to enter transactions for clients when its NTA was less than 75% of the
amount required. His findings led to the controlling shareholder being removed from management and losing
ownership interest in the entity.
Money Service Business
Ron was engaged by the attorneys for limited partners who invested seven-figure amounts in a money
service business to conduct an internal investigation of the managing members’ business activities. His
investigation resulted in management being removed. Ron’s findings determined that managing members
were using investor money in personally owned unrelated businesses, using company funds for personal
expenses and recording them as business expenses, and engaging in transactions that jeopardized the
company’s business license. By testifying to his findings, Ron prevented the manager from discharging in
bankruptcy the debt owed to investors because of the Court finding the manager’s actions resulted in fraud
on investors.
Restaurant Business
Ron was engaged by the attorneys for limited partners in a restaurant that earned significant seven-figure
annual revenues. His investigation and analysis identified four irregularities: personal expenses being paid
using company credit cards; catering, festival, and private-party income not being recorded; periods of
operation when point-of-sale machines were turned off; and self-dealing by operating franchises and retail
sales in the name of another entity. Ron’s findings led to a subsequent change in management and
relinquishment of the managing member’s interest.
Nominee-Owned Partnership Businesses
Ron was engaged by an attorney representing a partner who held nominee interest in numerous pieces of
real estate, a business purchasing and selling auctioned property, a hotel, and investment in various
brokerage accounts in the name of a partnership entity, with a total value of eight figures. The partnership
and these multifaceted investments occurred over a more than 20-year period. When the partner who held
the majority of the assets in their name as nominee died, the partner’s beneficiaries refused to recognize the
nominee partner’s interest in the assets of the partnership. Ron traced the proceeds used to purchase each
asset, along with the income, expenses, distributions, and tax reporting for each investment, and rendered
an opinion as to each partnership asset’s ownership. His findings resulted in the nominee partner regaining
control of their assets.



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FRAUD INVESTIGATION – DAMAGES EXPERT
Trustee – Real Estate Family Office
Ron was engaged to investigate allegations of a diversion from an irrevocable trust by the trustee. The trust
assets primarily consisted of multi-family real estate holdings and bank and brokerage accounts. Ron was
initially brought on to interview the trustee, who admitted to diverting funds from the trust for their own benefit
over a 20-year period. At the time of admission, the trustee relinquished control of the trust records, including
their own personal records, which were being maintained at the family office, and subsequently agreed to
place their personal financial assets into an escrow account and a lis pendens on their extensive real estate
holdings, pending the calculation of damages from the long-lasting diversion.
Ron documented the methods the trustee used to divert monies from the trust, including the diversion of
rental income and funds from the purchase and sale of properties and the payment of personal expenses
using trust assets. The trustee later claimed the diverted funds were payment for their management and
trustee fees. Ron rebutted the trustee’s claim with documents showing concealment, failure of the trustee to
include the fees on their tax returns, emails, and witness testimony. He calculated the seven-figure economic
damages from the various diversion buckets and corroborated the economic damage calculation by
performing an analysis of the trustee’s unexplained increases in personal net worth over the 20-year
diversion period. Ron’s findings led to settlement, repayment of the amounts due, and referral at the client’s
direction to federal law enforcement authorities.
Ponzi Scheme – Real Estate
Ron was brought on as an expert witness for sentencing purposes after his client was found guilty at trial in a
Ponzi-type investor fraud scheme. Ron’s testimony and analysis showed that his client’s business invested
eight-figure investor funds in real estate over a 10-year period and that much of the alleged loss was the
result of the Great Recession, not fraud, because the Ponzi-type payments did not begin until much later
than the government alleged. His analysis demonstrated that income generated from the properties was
used to manage the properties and not entirely diverted for personal purposes. Further, payments to the
property managers were within industry norms. As a result, Ron’s client received significantly less
incarceration than what the government recommended.
Accountant Fraud
Ron investigated allegations of a multi-million-dollar diversion by his clients’ accountant. His clients were
beneficiaries of trusts with businesses and real estate valued at more than eight figures. Their accountant
said the diverted funds were being used to pay various federal, state, and local taxes owed by the trust
when, in truth, the funds were being used to pay for the accountant’s personal expenses and personal asset
purchases. Ron subsequently calculated the seven-figure damages from the 6-year diversion. The
accountant, who admitted to the diversion during the interview, would not cooperate in determining the
amount of the diversion.
Ron calculated damages by tracing and analyzing the trust’s tax returns and financial accounts and the
accountant’s bank records, accounting records, and email communications. The accountant made restitution
to Ron’s clients before pleading guilty to an unrelated investor fraud scheme for which the accountant was
already under federal indictment. The accountant received a 15-month sentence on the federal investor
fraud scheme, and the subsequent trust diversion scheme led to additional state charges.
Charity
Ron was engaged by the board of directors of a charity to investigate allegations of a significant seven-figure
diversion that occurred over a 5-year period by the charity’s executive director. He interviewed the executive
director, who confessed to the diversion, and then calculated the damages by determining the various
methods used to divert the funds and creating a spreadsheet identifying each transaction by date. The
executive director identified, admitted to, and confirmed each diversion by initialing each transaction on the
spreadsheet. Ron’s findings led to repayments from the funds diverted to an unrelated business, and the
executive director resigned from both entities. Ron also assisted the charity in making a referral to federal
law enforcement, which led to a guilty plea and a 3.5-year prison term.


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Truck Dealership Sales Manager
Ron was engaged by a truck dealership to investigate diversions by its sales manager. He assisted in
developing evidence that showed the sales manager was selling trade-in vehicles through an internet
website and that, rather than depositing the proceeds into the truck dealership business account, was
making phony general ledger entries in the company’s accounting system to conceal the diversion. The
sales manager was also buying and selling used trucks under the dealership’s name without them knowing
or receiving proceeds from the sale. In addition, the sales manager committed identity theft by using prior
customers’ personal information to obtain credit from finance companies and pocketing the proceeds. Ron’s
report of his findings was used by the dealership to recover some of its losses from its insurance company,
and at the request of the dealership, a report was made to local law enforcement.
Investment Manager
Ron was hired by the board of directors of an investment management firm with a nine-figure amount under
management. After the key investment manager committed suicide, the board wanted assurance that funds
had not been diverted from the firm. Ron performed a financial analysis that traced investor funds and
presented a report to the board. His report revealed that seven-figure amounts were diverted from trust
accounts belonging to the investment manager’s mother and sister, not from outside investors, and used for
personal purposes. The investment management firm was subsequently sold to an unrelated third party.
Consumer Finance Company Manager/Owner
Ron investigated a branch manager/shareholder of a consumer finance company who had diverted a
significant seven-figure amount by including phony consumer loans and concealing the periodic loan
payments with additional loans. He identified the phony loans and calculated the damages. As a result of
Ron’s findings, the branch manager relinquished equity in the branch, and a referral was made to local law
enforcement at the client’s request.


TAX AND WHITE-COLLAR DEFENSE CONSULTING
Spendthrift Trust – Son of Boss Transaction – No Interest Loans
Ron was engaged as a tax expert in a litigation to collect on a nine-plus-figure judgment obtained against
several defendants, one of whom was both the trustee and beneficiary of a spendthrift irrevocable trust.
Ron’s analysis and testimony concluded that trustee/beneficiary self-settled the trust. Contrasting trust
accounting to financial statements submitted under penalties of perjury showed transfers not identified as
purported loans and loan repayments, failure of trust to impute interest, and inconsistent accounting for
purported loans.
Ron demonstrated that the trustee/beneficiary engaged in illegal Son of Boss-type tax shelter transactions to
evade taxes in an eight-figure amount and deducted seven-figure nondeductible business expenses
generated from the use of trust-owned jets. He also presented documents and testimony that the
trustee/beneficiary engaged in false statements in their filings for a publicly traded company that resulted in
substantial gain on stock owned by the trust.
Ron’s analysis included 20 years of financial transactions, trust, personal, and business tax returns, as well
corresponding accountant and trust workpapers. He testified over a 2-day period at trial to the findings and
assisted in the cross-examination of defendant witnesses. After the bookkeeper for the trust admitted during
testimony to withholding discovery documents, the opposing party settled and paid an eight-figure amount
before the conclusion of the trial.
Lawyer Accused of Helping Client Repatriate Funds
Ron testified as an expert witness in a federal criminal trial to rebut the calculation of tax, penalties, and
interest in an Offshore Voluntary Disclosure Program filing, where the cooperating government witness failed
to report an eight-figure amount in foreign source income over a 10-year period and concealed the
repatriation of those funds using alleged phony real estate investments. Ron’s client, a lawyer, was accused
of assisting the cooperating government witness in repatriating the funds tax free. The lawyer subsequently
entered into a business dispute with the cooperating government witness, which led to the cooperating

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government witness filing a voluntary disclosure with the Internal Revenue Service (IRS) and turning in the
lawyer for assisting in the fraud. Ron’s testimony was limited to the false statements made in the voluntary
disclosure, which showed that the cooperating government witness underreported their income by several
million dollars while allegedly cooperating with the government against the lawyer.
Marina Owner
Ron served as an expert witness in a criminal tax trial where the client was indicted on four counts of tax
evasion for intentionally failing to report a seven-figure amount received from the sale of a marina and
underlying real estate. He testified as a rebuttal defense tax expert and demonstrated that the government
failed to provide evidence of the client’s basis in the assets sold; thus, the government was unable to prove
the client had a tax due and owing (an element of the alleged crime). As a result of Ron’s testimony, the
client was acquitted by a jury on all four counts of tax evasion.
Real Estate Developer
Ron acted as an expert witness after the indictment of his client for allegedly not properly reporting a seven-
figure amount from the sale of a real estate development and substantial personal expenses paid from that
business. He documented that the client’s income and expenses were fully disclosed to the tax return
preparer and that the underreporting of income and overstated expenses were not the client’s intent. As a
result of Ron’s involvement, the government subsequently withdrew its indictment before trial began.
Scrap Metal Business
Ron was engaged as a consultant and expert witness shortly after the government executed search
warrants and performed interviews at a scrap metal business that generates an eight-to-nine-figure gross
income per year. Because the business paid a significant portion of its supplier expenses in currency, Ron’s
client made frequent withdrawals of currency from the business’ financial accounts. He performed an
analysis to demonstrate that the cash was paid to suppliers and not used personally. Ron’s investigation
resulted in a guilty plea for the company for money structuring, but no individuals/officers of the company
were indicted.
Day Spa Business
Ron served as an investigator and an expert witness in a criminal tax trial where two clients were accused of
evading several million dollars in income taxes over several years. He located and interviewed key
witnesses to whom the clients lent money, determining that the amount lent subsequently ended in a
business loss that the government failed to address. Ron then testified and opined to no tax due and owing
by client, resulting in the acquittal of one of the two clients.
Investment Banker
Ron testified as an expert witness at sentencing after his client was found guilty at trial in an offshore tax
evasion scheme. His client, who was a promoter of over-the-counter pink-sheet stocks, allegedly failed to
report the income earned overseas and the existence of overseas bank accounts. Ron provided testimony
that the government failed to consider unclaimed business deductions and losses in its calculation of
additional tax due and owing. Based on Ron’s testimony, the judge found that there was no tax due and
owing as a result of the scheme, which is a factor under the U.S. sentencing guideline determination.
Eggshell Audit – Closely Held Manufacturing Business
Ron was engaged by a law firm in its representation of a client business that was under an eggshell audit.
The law firm determined that the client, a manufacturer, made eight-figure personal purchases of racehorses
over a 4-year period and deducted those purchases as cost of goods sold. Ron restated the company tax
returns and financial statements for the 4-year period, which resulted in the business writing a seven-figure
check to the government/IRS and the government agreeing to waive all penalties. The waived penalties
could have been more than seven figures. Ron’s quick action and cooperation with the Revenue Agent
prevented the case from being referred for criminal prosecution.




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PRESENTATIONS & SPEAKING ENGAGEMENTS
Ron has made presentations to the American Bar Association (ABA), Internal Revenue Service (IRS),
Federal Deposit Insurance Company (FDIC), Illinois Certified Public Accountant (CPA) Society, Law
Enforcement contingent from the Italian government, the Chicago Chapter for the Association of Certified
Anti-Money Laundering Specialists, Human Resource Management Association of Chicago, the Illinois
Institute for Continuing Legal Education (IICLE), and law and accounting firms. These speaking
engagements included presentations on badges of fraud, preparation of proper criminal fraud referrals,
voluntary disclosure program, the role of criminal investigation within the law enforcement community and
IRS, workplace investigations, business valuations and investigation in divorce, how a financial institution
should complete an effective suspicious activity report and how law enforcement uses them, interview
techniques, and mock trial testimony.


LANGUAGES
English (native)




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                                                             Ron Braver
                                                        Testimony Experience

Year        Attorney/Client                 Forum                                    Action or Proceeding                Description
9/12/2023   Bond Schoeneck & King           United States Bankruptcy Court,          M. Burton Marshall, a/k/a Burt      Financial Advisor to Creditors
                                            Northern District of New York (Case      Marshall, a/k/a Miles Burton        Committee – testified as to
                                            No. 23-60263-PGR, Chapter 11)            Marshall, Debtor, Hearing to        financial investigation and
                                                                                     appoint 1104 trustee and to         findings to date.
                                                                                     remove Debtor Financial Advisor




7/31/2023   Hendershot Cowart, PC           District Court of Harris County, Texas   Ultra Communications Corp.,         Expert witness for
                                            – 152nd Judicial District                Plaintiff/Counter-Defendant, v.     Plaintiff/Counter Defendant –
                                                                                     Peatalk Corp., Phillip Nguyen,      investigation relating to alleged
                                                                                     and Thu-NGA VU, Individually,       investor fraud, testified sources
                                                                                     Defendants/Counter-Plaintiffs v.    and uses of funds, indications of
                                                                                     Peatalk Asia Financial. Group,      fraud and commercial damages.
                                                                                     LLC, Phuc Vinh Huynh, and
                                                                                     Phuc Kien Huynh, Third-Party
                                                                                     Defendants. Case No. 2021-
                                                                                     47914
6/16/2023   Bryan Cave Leighton Paisner     United States District Court –           United States of America v. Rishi   Rebuttal expert for defendant
                                            Northern District of Illinois, Eastern   Shah, Shradha Agarwal, Brad         Rishi Shah at forfeiture hearing
                                            District                                 Purdy and Ashik Desai No. 19        relating to tracing of fraud
                                                                                     CR 864                              proceeds using FIFO, LIFO, Pro
                                                                                                                         Rata, and Lowest Intermediate
                                                                                                                         Balance methods to the assets
                                                                                                                         the government retrained via a
                                                                                                                         protective order.

2/7/2023-   Law Offices of Nishay Sanan     United States District Court –           United States of America v.         Rebuttal expert at trial for
2/8/2023                                    Northern District of Illinois, Eastern   Michael Abramson No. 18 CR          defendant relating to
                                            District                                 681                                 shareholder loans/distributions,
                                                                                                                         commissions/distributions,
                                                                                                                         computation of current and
                                                                                                                         accumulated earnings and
                                                                                                                         profits, dividends, return of
                                                                                                                         capital and capital gains.




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                                                             Ron Braver
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Year        Attorney/Client                 Forum                                     Action or Proceeding                  Description
1/23/2023   Minns Law                       United States District Court for the      United States of America v.           Testimony at sentencing for
                                            Northern District of Texas Dallas         Raymond Griggs No. 3:20-CR-           defendant as to loss amount and
                                            Division                                  87-N                                  Internal Revenue Manual
                                                                                                                            Section 9 relating to civil v
                                                                                                                            criminal tax computation.




12/6/2022   Clark Hill, PLC                 Circuit Court of Cook County, Illinois,   Estate of Mohammed Sayeed             Deposition testimony for
                                            County Department – Chancery              Kahn, a Disabled Person, by his       defendant relating to whether
                                            Division – No 2022 P 004894               Guardian Shahjahan Khan,              there is information in the tax
                                            (severed from 2017 P 8012 and             Citation Petitioner, v. Habeeb        documents that support claim
                                            transferred to Chancery)                  Shariff, Sameena Shariff, and         that Petitioner owned a mixed-
                                                                                      YMS Holdings LLC, Citation            use property. Petitioner reported
                                                                                      Respondents                           no income or expenses from the
                                                                                                                            property, the property had
                                                                                                                            income and expenses that
                                                                                                                            required Petitioner to report the
                                                                                                                            income if Petitioner owned the
                                                                                                                            property, The Petitioner claim
                                                                                                                            that he owned half the property
                                                                                                                            without reporting any income or
                                                                                                                            expenses from it was
                                                                                                                            inconsistent with how he
                                                                                                                            reported rental income from
                                                                                                                            other properties he owned.
6/6/2022    Hendershot Cowart, PC           District Court of Fort Bend County,       Big Ernie’s Inc., Plaintiff v. Ajay   Trial testimony relating to
                                            Texas, 400th Judicial District Cause      Aggarwal, Brij Agrawal a/k/a Brij     allegation of fraudulent
                                            No. 20-DCV-274895                         Agarwal, BSA Funding, LLC,            transfers. Testified for Plaintiff
                                                                                      Vikie Agrawal, and Aashir             as to 1) indications of fraud in
                                                                                      Aggarwal, Defendants                  transfer documents of 67
                                                                                                                            subway franchises and 4
                                                                                                                            businesses. 2) debtor was
                                                                                                                            insolvent at time of transfer; 3)
                                                                                                                            numerous seven figure cash




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                                                                                                                          distributions identified from tax
                                                                                                                          filings in contemplation and after
                                                                                                                          insolvency; and 4) inconsistent
                                                                                                                          defendant testimony and loan
                                                                                                                          agreement indicating family
                                                                                                                          member lent debtor money
                                                                                                                          contrary to personal financial
                                                                                                                          statements filed with financial
                                                                                                                          institutions.
6/3/2022   Hendershot Cowart, PC            District Court of Fort Bend County,     Big Ernie’s Inc., Plaintiff v. Ajay   Deposition relating to allegation
                                            Texas, 400th Judicial District, Cause   Aggrawal, Brij Agrawal a/k/a Brij     of fraudulent transfers. Testified
                                            No. 20-DCV-274895                       Agarwal, BSA Funding, LLC,            for Plaintiff as to 1) indications of
                                                                                    Vikie Agrawal, and Aashir             fraud in transfer documents of
                                                                                    Aggarwal, Defendants                  67 subway franchises and 4
                                                                                                                          businesses. 2) debtor was
                                                                                                                          insolvent at time of transfer; 3)
                                                                                                                          numerous seven figure cash
                                                                                                                          distributions identified from tax
                                                                                                                          filings in contemplation and after
                                                                                                                          insolvency; and 4) inconsistent
                                                                                                                          defendant testimony and loan
                                                                                                                          agreement indicating family
                                                                                                                          member lent debtor money
                                                                                                                          contrary to personal financial
                                                                                                                          statements filed with financial
                                                                                                                          institutions.
5/4/2022   Pedersen & Houpt                 Circuit Court of the 18th Judicial      Pamela Posta v. CBC                   Deposition testimony for
                                            District, DuPage County, Illinois,      Customhouse Brokers, Inc.,            Defendant as to commercial
                                            Case No 17 L 1192                       Chavez, Bogdanski & Cincinello        damages, indications of
                                                                                    International, Inc., Spencer          diversion, indications Plaintiff
                                                                                    Bogdanski                             significantly overstated
                                                                                                                          expenses and as an indication of
                                                                                                                          Plaintiff’s credibility and candor
                                                                                                                          as a witness.




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1/28/2022    Emalfarb, Swan and Bain            Circuit Court of Cook County Illinois,      Laurence Weiner, individually     Deposition testimony as to an
                                                County Department - Law Division,           and on behalf of Weiner           accounting and damages on
                                                No. 2009-L-51402                            Investments, LLC and Weiner       behalf of Defendant/Counter
                                                                                            Investments, LLC, individually,   Claimants
                                                                                            Plaintiff/Counter-Defendants v.
                                                                                            Vasile Lohan, Gheorge Lohan,
                                                                                            and Iohan Lohan,
                                                                                            Defendants/Counter-Claimants

11/15/2021   Leinenweber Baroni & Daffada LLC   United States District Court, Northern      United States of America,         Testimony at sentencing for
                                                District of Illinois, Eastern Division,     Plaintiff v. Jeffrey Batio,       Defendant relating to tracing 26
                                                No. 16 CR 425-1                             Defendant                         bank accounts over a 14-year
                                                                                                                              period.
10/14/2021   Hinshaw & Culbertson LLP           United States District Court, District of   Robert A. Schultz Jr. and Donna   Deposition rebuttal testimony for
                                                New Jersey                                  L. Schultz, on behalf of          Defendants on behalf of
                                                                                            themselves and those similarly    Defendant relating to Form
                                                                                            situated, Plaintiff and Midland   1099-C reporting - forgiveness of
                                                                                            Credit Management, Inc and        debt.
                                                                                            John Does 1 to 10, Defendants,
                                                                                            United States District Court
                                                                                            District of New Jersey; Civil
                                                                                            Action No. 2:16-CV-04415
6/22/2021    Konicek & Dillon, P.C.             Circuit Court of the Fourteenth             Nyle F. Andersen, individually,   Trial testimony for Plaintiff on
                                                Judicial Circuit, Whiteside County,         and Bruce Brietweiser, not        indicators of intent relating to
                                                Illinois                                    individually, but as Court        embezzlement and insurance
                                                                                            Appointed by Agreed Order         fraud scheme. Testimony
                                                                                            receiver for Andersen Wilkins     included asset tracing, IRS Audit
                                                                                            Lowe Life Insurance Brokers,      findings and commercial
                                                                                            Inc., Plaintiffs, v. Frank C.     damages.
                                                                                            Nelsen, Defendant; Case No. 10
                                                                                            CH 93 Consolidated with 10 L 20
                                                                                            and 10 MR 35
3/30/2021    Miller Shakman Levine & Feldman    Circuit Court of Cook County, Illinois      Marc Bushala, Petitioner and      Deposition testimony for
             LLP                                County Department, Domestic                 Counter-Respondent and            Petitioner as to 1) source and
                                                Relations                                   Veronique Bushala, Respondent     use of funds; 2) transfers of
                                                                                            and Counter-Petitioner,           membership interest in LLCs to




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                                                                Ron Braver
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Year         Attorney/Client                    Forum                                    Action or Proceeding                Description
                                                                                         Veronique Bushala, Plaintiff, vs.   children’s trusts were not
                                                                                         Gabrielle Grace Bushala             completed gifts; 3) transaction
                                                                                         Irrevocable Trust, Margaux          documents show inconsistencies
                                                                                         Marie Diana Bushala Irrevocable     and indications of back dating; 4)
                                                                                         Trust, Maximilien Bernard Walter    Financial affidavit contained
                                                                                         Bushala Irrevocable Trust, Noel     false and misleading information
                                                                                         Bushala, Not Individually But as    and 4) income earned by
                                                                                         Trustee for the Children’s Trust,   Grantor had transfers of LLC
                                                                                         Robert Mathias, Not Individually,   membership interests to
                                                                                         But as Trustee for the LAB          children’s trusts not occurred.
                                                                                         Irrevocable Trust, Gabrielle
                                                                                         Grace Bushala, Margaux Marie
                                                                                         Diane Bushala and Maximilien
                                                                                         Bernard Walter Bushala,
                                                                                         Defendants; Case No. 2015 D
                                                                                         4601
11/10/2020   Ogletree, Deakins, Nash, Smoak &   United States District Court, Northern   Duro, Inc. d/b/a/ Lee’s Wood        Deposition testimony for Plaintiff
             Stewart, P.C.                      District of Indiana, South Bend          Products; Duro Recycling, Inc.      – internal investigation findings
                                                Division                                 d/b/a; Plaintiffs, v. E. Spencer    and opinions as to indicators of
                                                                                         Walton, Jr.; Georgianne M.          fraud, diversions and basis in
                                                                                         Walker; and May Oberfell            entities
                                                                                         Lorber, Defendants; Case No.
                                                                                         3:13-cv-00103-JD-CAN
10/7/2019    Jordan & Zito LLC                  United States District Court, Northern   Eric D. Hovde and Steven D.         Deposition testimony for
                                                District of Illinois, Eastern Division   Hovde v. ISLA Development           Defendant – opinion relating to
                                                                                         LLC and Jeffrey T. Riegel; Case     insolvency Defendant.
                                                                                         No. 18-cv-07323
9/5/2019     Barnes Thornburg LLP               United States District Court, Southern   United States v. Jack Stephen       Trial testimony for Defendant –
                                                District of Texas, Houston Division      Pursley; Case No. 4:18-cr-00575     opinion relating to computation
                                                                                                                             of Offshore Voluntary Disclosure
                                                                                                                             Program tax, interest, and
                                                                                                                             penalties. The reporting of
                                                                                                                             income when earned or
                                                                                                                             repatriated and definition of
                                                                                                                             controlled foreign corporation.




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Year        Attorney/Client                  Forum                                    Action or Proceeding                  Description
5/14/2019   Beerman LLP                      Circuit Court of Cook County, Illinois   Antonia Halikias v. Nikolas           Deposition testimony for
                                                                                      Halikias; Case No. 15 D 9750          Defendant– lifestyle analysis and
                                                                                                                            economic income.
4/30/2019   Connor D. Jackson, Jackson LLP   Circuit Court of Cook County, Illinois   Matthew Landstrom and                 Deposition testimony for
                                             County Department, Chancery              Landstrom Neuropsychological          Plaintiff– opinion relating
                                             Division                                 Center, P.C., Plaintiff, v. Urban     indication as to diversions of
                                                                                      Brain and Body, LLC and Seth          funds and material omissions in
                                                                                      Franz, Defendants; Case No. 17        connection with business
                                                                                      CH 15324                              purchase.
10/1/2019   Jenner & Block LLP               United States District Court, Northern   Emerald Casino, Inc., Debtor,         Trial testimony for Plaintiff –
                                             District of Illinois, Eastern Division   Frances Gecker, not individually      opinion as to classification of
                                                                                      but as Trustee for Emerald            transfers between trust and
                                                                                      Casino, Inc., Plaintiff, v. Estate    individual as self-settling,
                                                                                      of Kevin F. Flynn, et.al.,            inconsistent documents in
                                                                                      Defendants; Chapter 7 02 B            accounting records and tax
                                                                                      22977 Adv. No. 08 A 00972,            filings showing transfers not
                                                                                      Dist. Ct. Case No. 11-cv-04714        treated as loans. IRC Section
                                                                                                                            7872 loans subject to below
                                                                                                                            market interest rules.
5/18/2018   McDermott Will & Emery LLP       Circuit Court of Cook County, Illinois   Anne Marie Poincelet, et.al           Deposition testimony for Plaintiff
                                             County Department, Chancery              Plaintiff v. Frank Scarpelli, Jr.     – internal investigation –
                                             Division                                 et.al., Defendants ; 15 CH 15087      indications of diversion from
                                                                                      and 16 L 8816                         trust, commercial damages
5/2/2018    Konicek & Dillon, P.C            Circuit Court of Cook County, Illinois   Bruce Breitweiser, not                Trial testimony for Plaintiff -
                                             County Department, Law Division          individually, but as duly court       indicators of insurance fraud and
                                                                                      appointed Receiver on behalf of       transaction tracing
                                                                                      Anderson Wilkins Lowe Life
                                                                                      Insurance Brokers, Inc., and
                                                                                      Nyle Anderson, shareholder of
                                                                                      Anderson Wilkins Lowe Life
                                                                                      Insurance Brokers Inc., Plaintiffs,
                                                                                      v. Highland Capital Brokerage,
                                                                                      Inc., Thomas Vilardo, Kris
                                                                                      Hoffman, Jill Hayes, and Tamara
                                                                                      Barajas, Defendants; 2016 L
                                                                                      1526




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Year         Attorney/Client                          Forum                                       Action or Proceeding               Description
1/11/2018    Kralovec Meenan, LLP                     Circuit Court of Cook County, Illinois,     Nancy Barnard Knox vs. Benitta     Deposition testimony for
                                                      County Department, Chancery                 Berke; Civil Action No. 13 CH      Defendant- accounting opinion -
                                                      Division                                    914                                tracing assets based on
                                                                                                                                     documents accounting ledges
                                                                                                                                     and tax reporting over a 20 year
                                                                                                                                     period.
1/10/2018    Dussias, Wittenberg, Koenigsberger       18th Judicial Circuit Court, DuPage         Kopp (Kevin) vs. Kopp (Jenny);     Deposition testimony for
             LLP                                      County, Illinois                            2016 D 282                         Defendant regarding tracing
                                                                                                                                     assets - adjusted income.
1/23/2017    Office of the Illinois State Treasurer   United States District Court, Northern      Edmund Michalowski v. Dan          Deposition testimony on internal
                                                      District of Illinois, Eastern Division      Rutherford; Civil Action No. 14-   investigation regarding
                                                                                                  CV-899                             allegations of sexual harassment
                                                                                                                                     and coercion to provide political
                                                                                                                                     campaign assistance. Internal
                                                                                                                                     investigation conducted for State
                                                                                                                                     of Illinois - Attorney General.
11/21/2016   Civille & Tang, PLLC                     American Arbitration Case 74-505-           Fargo Pacific, Inc. vs Infratech   Penalty Phase - rebuttal expert
                                                      00540-12 LGB                                International LLC;                 for Defense in arbitration - GAAP
                                                                                                                                     accounting for joint venture
                                                                                                                                     reporting/ tax ramification
                                                                                                                                     damages in contract dispute.
8/2/2016     Saul Ewing Arnstein & Lehr LLP           Circuit Court of Waukesha County,           Imperial Zinc Corp vs Glenn        Deposition testimony for Plaintiff
                                                      State of Wisconsin                          Lenz, James Rundquist,             expert on going concern and
                                                                                                  Kenneth Lehman, & Douglas          insolvency.
                                                                                                  Oman; Case Code 30106
4/8/2016     Nixon Peabody LLP                        Circuit Court of Cook County, Illinois,     Ticor Title et. al. vs Donald      Deposition testimony - Rebuttal
                                                      County Department, Law Department           Engel et.al.; Case No. 08 CH       expert for Defendant - financial
                                                                                                  34714                              analysis relating to indications of
                                                                                                                                     fraudulent transfers.
4/1/2016     Capes Sokol                              United States District Court, District of   United States vs. Kathleen         Trial Testimony - Tax evasion -
                                                      Kansas                                      Stegman and Christopher Smith;     rebuttal expert witness for
                                                                                                  14-20109-01/02 -JAR - TJJ          Defense – there was no tax due
                                                                                                                                     and owing an element necessary
                                                                                                                                     to prove crime




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Year         Attorney/Client                   Forum                                      Action or Proceeding              Description
3/7/2016     Letvin & Stein                    United States Bankruptcy Court,            Grant Lustig, Debtor; 14 B        Testimony for Creditor – Bench
                                               Northern District of Illinois, Eastern     32594, Chapter 7 - Complaint to   trial regarding internal
                                               Division                                   Determine ability to Discharge    investigation as to indications
                                                                                          Debt                              that Lustig defrauded Work
                                                                                                                            Force Financial.
3/2 &        McNees Wallace & Nurick LLC       Court of Common Please and                 Arrowhead Conveyor                Trial testimony for Plaintiff -
3/3/2016                                       Clearfield County, Pennsylvania            Corporation et al v. Giuseppe's   regarding opinion on piercing the
                                               2006-2159-CD                               Finer Foods, Inc.;                corporate veil.
5/20/2015    Minns & Arnett                    United States District Court, Western      United States vs. John Lee        Trial testimony - Tax Evasion -
                                               District of Michigan, Northern District    Matteson; 15 CR 00001             Rebuttal expert witness for
                                                                                                                            Defense that there was no tax
                                                                                                                            due and owing an element
                                                                                                                            necessary to prove crime
5/8/2015     Foltz Martin Knapp LLC            Superior Court of Gwinnett County,         Carl Franco vs. Multi State       Deposition testimony regarding
                                               State of Georgia                           Financial Services, Inc., Multi   internal investigation conducted
                                                                                          State Neighborhood Financial      for Defendant that Plaintiff
                                                                                          Services, Inc., Atlanta Check     diverted funds and was self-
                                                                                          Cashiers, Inc., Eileen Keller,    dealing.
                                                                                          Joseph Wolfberg and Leonard
                                                                                          Keller; 13-A-01881
5/1/2015     Lavelle Law, Ltd                  18th Judicial Circuit Court, DuPage        People v. Eddie Zubov; 14 CF      Sentencing - testified for the
                                               County, Illinois                           2260                              Plaintiff as to internal
                                                                                                                            investigation that Defendant
                                                                                                                            diverted funds and indications of
                                                                                                                            elder abuse.
12/11/2014   Beerman LLP                       Circuit Court of Cook County, Illinois     Mark Schwartz v. Wendy            Motion to Lower Maintenance -
                                                                                          Schwartz; 11 L 11791              Testified for Wendy Schwartz –
                                                                                                                            Income and Assets of Mark
                                                                                                                            Schwartz.
9/18/2013    Minns & Arnett                    United States District Court District of   U.S. v. Stephen Kerr and          False Income Tax Returns –
                                               Arizona                                    Michael Quiel; 11-2385-PHX-       Willful Failure to File FBAR -
                                                                                          JAT                               Damage Calculation -
                                                                                                                            Loss/Intended Loss - Testimony
                                                                                                                            at Sentencing for Defense




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Year        Attorney/Client                   Forum                                    Action or Proceeding              Description
7/25/2013   McNees Wallace & Nurick LLC       Clearfield County Pennsylvania, Civil    Arrowhead Conveyor                Testimony at Motion to Dismiss
                                              Division                                 Corporation et al v. Giuseppe's   for Plaintiff opposing party failure
                                                                                       Finer Foods, Inc.; 2006-2159-CD   to produce records - Piercing the
                                                                                                                         Corporate Veil.
4/30/2013   Law office of Jeffrey J Levine    United States District Court, Northern   U.S. v. Michael Morawski; 11-     Defendant convicted in Ponzi
                                              District of Illinois, Eastern Division   CR-342-1                          scheme prior to being engaged -
                                                                                                                         Testimony at sentencing for
                                                                                                                         Defense relating to amount of
                                                                                                                         loss/intended loss
8/15/2012   Winston & Strawn LLP              United States District Court, Eastern    U.S. v. Arvind Ahuja; 2:11CR-     Trial Testimony – False Income
                                              District of Wisconsin                    135                               Tax Returns – Willful Failure to
                                                                                                                         File FBAR – Testified as to
                                                                                                                         procedures in obtaining records
                                                                                                                         from foreign banks, issuances of
                                                                                                                         Form 1099 by foreign banks,
                                                                                                                         and examination of golf course
                                                                                                                         records. Testified for defense
1985 –                                                                                                                   Testified on several occasions in
2010                                                                                                                     my capacity as a Special Agent
                                                                                                                         of the IRS. Testified at trial,
                                                                                                                         sentencing, and civil forfeiture
                                                                                                                         deposition. Testified numerous
                                                                                                                         times before grand jury.




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